106 F.3d 393
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Darrell L. PADGETT, Defendant-Appellant.
    No. 96-7506.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 9, 1997.Decided Feb. 12, 1997.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Bluefield.  Elizabeth V. Hallanan, District Judge.  (CR-91-166, CA-94-377-1)
      Darrell L. Padgett, Appellant Pro Se.
      John Castle Parr, OFFICE OF THE UNITED STATES ATTORNEY, Charleston, WV, for Appellee.
      Before HALL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying his motion for reconsideration of the court's earlier order denying relief under 28 U.S.C. § 2255 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of probable cause and dismiss the appeal on the reasoning of the district court.  United States v. Padgett, Nos.  CR-91-166;  CA-94-377-1 (S.D.W.Va. July 30, 1996).  We deny Appellant's motions for abeyance and remand.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    